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                      Exhibit 27
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Aaron Schlanger

From:                Ingerman, Brett <brett.ingerman@dlapiper.com>
Sent:                Wednesday, October 30, 2019 7:48 AM
To:                  James P. Bonner; Aaron Schlanger; Siegfried, Jonathan; Peck, Andrew
Cc:                  Gary Osen; Ari Ungar; Patrick L. Rocco; 'njnudelman@hnklaw.com'; Susan M. Davies;
                     trkalik@hnklaw.com
Subject:             RE: Miller v. Arab Bank and Pam v. Arab Bank
Attachments:         Exhibit A to Letter 10-30-2019.pdf


Jim,

We too are interested in moving this case forward as quickly as possible. Based on our review to date, we do not agree
with your characterization that “nearly all” of the people were identified in the Complaints or Spitzen appendices. We
have conducted a comprehensive review of the Linde and Pam/Miller records for each of the 677
names. Notwithstanding your representations to the Court, 180 of the 677 names were not included in the Miller/Pam
Complaints or the Spitzen report (including its appendices). 72 names were not included in any of the
sources. Moreover, despite others being mentioned in one or more of these sources, there is insufficient information
for us to determine their relevance to this litigation. Attached as Exhibit A is a list of the names for which we do not
have sufficient information to identify and/or understand their relevance. We propose scheduling a meet and confer
next week to discuss and attempt to clarify the relevance of any documents requested for these names. Please advise
on your availability for a call next week.

With respect to your inquiry regarding foreign law experts, I advised you on October 11 that, to the extent the Bank has
an account for any of the 15 names provided in your September 27 letter, we planned to direct those Letters of Request
to Jordan, Lebanon and the Palestinian Territories. Given what you have told us about the 15 names, those are the most
likely locations to the extent the Bank has any records. If we have reason to believe that we should be asking other
jurisdictions for records, we will let you know.

Thanks

Brett.




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                                    EXHIBIT A


                                Name                   Miller/Pam RFP Number

      1.   A’isha Masah Haniya                       RFP1: 8(9)

      2.   Abd Al-Karim Omar Mohammed Yusuf Ahmed    RFP1: 10(8)

      3.   Abd al-Karim Rateb Yunes Aweis            RFP2: 16(q)

      4.   Abd Al-Magid Najib Naji Daghlas           RFP2: 12(6)

      5.   Abd al-Rahim Maluh                        RFP2: 9(d)

      6.   Abd al-Rauf Muhammad al-Mabhuh            RFP1: 8(37)

      7.   Abdalla Khalil Abdalla Abu al-Rab         RFP1: 8(86)

      8.   Abir Fayiz Ali Ramana                     RFP1: 8(36)

      9.   Adnan Muhammad Ata Maragha                RFP2: 9(r)

      10. Afaf Muhammad Abu Armila                   RFP1: 8(56)

      11. Ahmad Abd al-Rahman Abu Hasira             RFP2: 2(w)

      12. Ahmad al-Mudalal                           RFP2: 2(ee)

      13. Ahmad Ibrahim Musleh al-Satri              RFP2: 20(3)

      14. Ahmad Othman Muhammad Badr                 RFP1: 3(y)
          Ahmad Sa’adat a/k/a Ahmad Sa’dat Abd al-
      15. Rasul                                      RFP2: 9(c)

      16. Ahmad Taleb Mustafa Barghuthi al-Faransi   RFP2: 16(w)

      17. Ahmad Tawfiq Muhammad Arida                RFP2: 5(34)

      18. Ahmad Yusuf Maghrabi                       RFP2: 16(k)

      19. Akef Fayez Nazal                           RFP2: 2(nn)

      20. Ala al-Din Mahmud Muhammad Abasi           RFP1: 3(l)

      21. Alaa Tafesh                                RFP2: 16(cc)

      22. Ali Juma Ahmad Juma                        RFP1: 9(6)

      23. Ali Muhammad Abd al-Hadi Sayam             RFP2: 14(2)

      24. Ali Suliman Said al-Sa’adi                 RFP2: 2(dd)

      25. Ali Zafour                                 RFP2: 2(vv)



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                               Name                       Miller/Pam RFP Number
          Al-Karmel Cultural and Social Development
      26. Association                                   RFP2: 10a

      27. Almatha Abd al-Hafit’ Ibrahim Jamjum          RFP1: 8(68)

      28. al-Maza Ramadan Mahmud al-Husni               RFP2: 6(11)

          Al-Qawasmeh Neighbourhood Charity a/k/a
      29. Charitable Al-Qawasmeh Neighborhood Society   RFP2: 17l


      30. Amal Abd al-Karim Khalil Bishawi              RFP1: 7(50)

      31. Amal Hussein Ali Aghbariya                    RFP2: 19(32)

      32. Amar Yusuf Kalbuna                            RFP1: 9(12)

      33. Amer Muhammad Musa Jafal                      RFP2: 9(n)

      34. Amjad Mahmud Ibrahim Fakhuri                  RFP2: 16(aa)

      35. Amjad Sulieman Hassan Hussein Abu Salim       RFP1: 10(4)

      36. Amnah Reehan                                  RFP2: 16(rr)

      37. Anwar Mahmud Ahmad Hamran                     RFP2: 2(ff)

      38. Ata Fares Ataya Jaber                         RFP2: 19(30)

      39. Ataf Dawud Hasan Aliyan                       RFP2: 2(p)

      40. Atef Abayat                                   RFP2: 16(v)

      41. Awad Yusuf Mustafa Awad                       RFP2: 13(8)

      42. Ayman al-Hur                                  RFP2: 9(x)

      43. Ayman Anwar Ahmad Arafat                      RFP1: 3(a)

      44. Ayman Yusuf Abd al-Rahman Abd al-Wahab        RFP1: 7(25)

      45. Baha al-Din al-Madhun                         RFP1: 2(r)

      46. Bahaa Abu Al Ata                              RFP2: 2(ss)

      47. Bahiya Hamad Nimer Jabara                     RFP2: 20(1)
          Banners of Charity a/k/a Bayareq al-Ataa
      48. Society                                       RFP2: 3g

      49. Basel Asmar                                   RFP2: 9(v)



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                               Name                         Miller/Pam RFP Number

      50. Bashir Musa Muhammad Nafi                       RFP2: 2(f)

      51. Bilal Abu Amsha                                 RFP2: 15(e)

      52. Birzeit Univeristy Fatah Youth Movement         RFP2: 17m

      53. Civil Society Organizations Commission          RFP2: 17e

      54. Dalal Ali Hasan al-Baz                          RFP1: 8(43)

      55. Dalal Muhammad Isa el-Zaban                     RFP1: 8(33)

      56. Development Charitable Society                  RFP2: 17i

      57. Fadel Murshid Hamdan Baker                      RFP1: 8(54)

      58. Fadi Qafisha                                    RFP2: 16(h)

      59. Fahed Abdallah Muhammad Sawalha                 RFP2: 7(9)
          Family of Abd al-Fatah Muhammad Musleh
      60. Rashed*                                         RFP2: 4(4); RFP2: 5(5)

          Family of Abd al-Jaber Abd al-Qader Abd al-
      61. Jaber Khaled                                    RFP2: 18(4)

      62. Family of Abd al-Karim Issa Khalil Tahayna      RFP2: 4(34)
          Family of Abd al-Rahman Muhammad Abu
      63. Bakra                                           RFP2: 19(7)

      64. Family of Ahmad Abd al-Mun’im Daraghima         RFP2: 4(24)

      65. Family of Akram Ishaq Abdalla al-Nabtiti        RFP2: 4(10)

      66. Family of Alaa’ Hilal Abd al-Satar Sabah        RFP2: 4(12)

      67. Family of Ali Ibrahim Abd al-Rahman al-Julani   RFP2: 19(11)

      68. Family of Amin Muhammad Hafez Sawafita          RFP2: 19(13)

      69. Family of Anwar Awni Abd al-Ghani               RFP2: 5(33)
          Family of As’ad Abd al-Rahman As’ad Naser
      70. Daqa                                            RFP2: 5(3)

          Family of Ashraf Mahmud abd al-Rahim Nimer
      71. Bardawil                                        RFP2: 5(13)

      72. Family of Ayman Muhammad Fayeq Jalad            RFP2: 12(2)


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                                     EXHIBIT A


                               Name                       Miller/Pam RFP Number

      73. Family of Dargham Izat Muhammad Zakarna       RFP2: 19(15)

      74. Family of Dawud Ali Ahmad Sa’ad Abu Sawi      RFP2: 4(18)

      75. Family of Fu’ad Khader Abu Sariya             RFP2: 11(4)

      76. Family of Hasan Muhammad Hasan al-Qadi        RFP2: 19(17)

      77. Family of Hatem Yaqin Ayesh Al-Sheweikeh      RFP2: 4(22)

      78. Family of Hukm Jamal Taya Qabala              RFP2: 19(25)

      79. Family of Husein Muhammad Salem Abayat        RFP2: 19(50)

      80. Family of Ibrahim Muhammad al-Wahadna         RFP2: 18(18)

      81. Family of Ibrahim Muhammad Mahmud Hasuna      RFP2: 18(14)

      82. Family of Ikrima Muhammad Khader Istiti       RFP2: 19(9)

      83. Family of Imad Hamdi Saleh Awd                RFP2: 19(27)

      84. Family of Isma’il Yusuf al-Sa’idani           RFP2: 11(6)

      85. Family of Iyad Muhammad Nayef Hardan          RFP2: 5(11)

      86. Family of Jamal Abd al-Qader Abd al-Razeq     RFP2: 19(19)

      87. Family of Jamal Ubayd Allah Nawawira Abayat   RFP2: 19(21)

      88. Family of Jihad Ibrahim al-Titi               RFP2: 18(12)

      89. Family of Jihad Mahmud Othman al-Alul         RFP2: 19(23)

      90. Family of Khalil Muhammad Mahmud al-Harb      RFP2: 12(5)

      91. Family of Maher al-Balbisi                    RFP2: 5(31)

      92. Family of Mahmud “Nursi” Tawalbeh             RFP2: 5(7)

      93. Family of Mahmud abd al-Rahman al-Muqid       RFP2: 5(15)

      94. Family of Mahmud Umar Ali Jaser               RFP2: 19(29)
          Family of Muhammad Ahmad Abd al-Rahman
      95. Daraghima Shu’ani                             RFP2: 18(2)

          Family of Muhammad Ahmad Abu Khader
      96. Basharat                                      RFP2: 5(19)



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                                Name                       Miller/Pam RFP Number

      97. Family of Muhammad Ali Muhammad al-Sus         RFP2: 19(40)

      98. Family of Muhammad Atwa Abd al-Al              RFP2: 5(21)

      99. Family of Muhammad Jamil Hussein Faraj         RFP2: 4(32)

      100. Family of Muhammad Mahmud Baker Naser         RFP2: 4(30)
           Family of Muhammad Mashhur Muhammad
      101. Hashaikeh                                     RFP2: 16(n)

           Family of Muhammad Ramadan Muhammad al-
      102. Kafarna                                       RFP2: 19(42)

      103. Family of Muhammad Yasin al-Madhun            RFP2: 19(46)

      104. Family of Munir Mustafa Ibrahim Abu Mussa     RFP2: 5(23)

      105. Family of Mustafa Ahed Hasan Anbas            RFP2: 19(38)

      106. Family of Mustafa Faysal Mustafa Abu Sariya   RFP2: 4(2)

      107. Family of Mutasem Mahmud Abdallah Makhluf     RFP2: 5(29)

      108. Family of Mutaz Abd al-Majid Najib Daghlas    RFP2: 12(7)

      109. Family of Nabil Faraj al-Ara’ir               RFP2: 4(20)

      110. Family of Nabil Muhammad Hashem al-Natsha     RFP2: 5(27)

      111. Family of Nazir Muhammad Mahmud Hamad         RFP2: 18(22)

      112. Family of Nidal Ibrahim Mustafa Abu Shaduf    RFP2: 4(6)

      113. Family of Nidal Muhammad Tawfiq Aghbariya     RFP2: 19(33)

      114. Family of Nidal Taysir Shehada Jabali         RFP2: 4(16)

      115. Family of Nimer Muhammad Yusuf Abu Sayfin     RFP2: 4(8)

      116. Family of Ra’ed Muhammad Sa’id al-Karmi       RFP2: 19(52)

      117. Family of Ra’fat Ibrahim Khalaf Bajali        RFP2: 19(48)

      118. Family of Ra’fat Salim Abu Diyak              RFP2: 4(28)

      119. Family of Ramadan Ismail Muhammad Azam        RFP2: 19(36)



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                                Name                      Miller/Pam RFP Number

      120. Family of Sa’id Ibrahim Ramadan              RFP2: 18(16)

      121. Family of Sadeq Ahed Abd el-Hafez            RFP2: 11(8)

      122. Family of Salem Taleb Salem al-Dar’awi       RFP2: 18(20)

      123. Family of Shadi Muhammad Sidqi Nasar         RFP2: 11(2)

      124. Family of Sufyan Arida                       RFP2: 5(35)
           Family of Taha Muhammad Abd al-Rahman
      125. Zbeidi                                       RFP2: 5(17)

      126. Family of Talat Ata Fares Jaber              RFP2: 19(31)
           Family of the Martyr Ali Sayel Muhammad
      127. Swidan                                       RFP2: 12(3)

           Family of the Martyr Ibrahim Abd al-Karim
      128. Bani Awda                                    RFP1: 7(37)

           Family of the martyr Muhammad Abd Rabo
      129. Imad                                         RFP1: 6(16)

           Family of the martyr Qusai Faysal Tawfiq
      130. Zahran                                       RFP2: 19(1)

      131. Family of the martyr Yaser Husni Al-Masdar   RFP1: 7(15)

      132. Family of Umar Abd al-Fatah Hafez Yasin      RFP2: 18(10)

      133. Family of Umar Mahmud Dhib Subh              RFP2: 12(9)

      134. Family of Wa’el Mutlaq Muhammad Asaf         RFP2: 5(25)

      135. Family of Wafa’ Ali Khalil Idris             RFP2: 18(6)

      136. Family of Walid Rasmi Sadeq Basharat         RFP2: 5(9)

      137. Family of Yaser Juma Abd al-Rahim Badawi     RFP2: 19(44)

      138. Family of Yaser Sa’id Musa Awda              RFP2: 18(8)

      139. Family of Yusuf Muhammad Ali Sawitat         RFP2: 4(14)

      140. Family of Yusuf Muhammad Mahmud Ayesh        RFP2: 4(26)

      141. Family of Ziyad Ibrahim Ayd Amer             RFP2: 19(5)

      142. Family of Zuheir Muhammad Asad Astiti        RFP2: 19(3)


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                                Name                     Miller/Pam RFP Number

      143. Farida Ali Daqa                             RFP2: 13(1)

      144. Faruq Qadumi                                RFP2: 16(a)

      145. Fatah Central Committee                     RFP2: 17b

      146. Fatah Hawks                                 RFP2: 26f
           Fatah Mobilization and Organization
      147. Commission                                  RFP2: 17g

      148. Fatah Revolutionary Council                 RFP2: 17f

      149. Fatah Youth Movement                        RFP2: 17c

      150. Fathi Shiqaqi                               RFP2: 2(d)

      151. Fatima Ahmad Muhammad Hiles                 RFP1: 8(22)

      152. Force 17                                    RFP2: 26e

      153. General Union of Palestinian Students       RFP2: 17d

      154. Ghasan al-Tirmasi                           RFP2: 2(s)

      155. Give Gaza Society                           RFP2: 17j

      156. Halima Abd al-Qader Yaqub al-Asta           RFP1: 8(67)

      157. Halima Ahmad Abu Fara                       RFP1: 8(40)

      158. Hanadi Taysir Abd al-Malek Jaradat          RFP2: 2(i)

      159. Handuma Rashed Ibrahim Wishah               RFP2: 9(t)

      160. Hassan ‘Atiya Hassan Madhoun                RFP2: 16(hh)

      161. Haytham Abu al-Naja                         RFP2: 16(dd)

      162. Hikmat Mustafa Hasan al-Aruqi               RFP2: 13(12)

      163. Hiyam Sa’id Khalil                          RFP1: 8(31)

      164. Husam Jaradat                               RFP2: 2(v)

      165. Hussein Salem Amtir abu Dib                 RFP1: 7(44)

      166. Ibrahim Awd Allah Ahmad al-Hih              RFP2: 6(17)

      167. Ibrahim Yasser Ibrahim Naji Khalil          RFP1: 10(3)

      168. Ikram Abd Salame Harez                      RFP1: 8(80)

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                               Name                     Miller/Pam RFP Number

     169. Isma’il ‘Abd al-Rahman Ahmad al-Ghanimat    RFP1: 8(20)

     170. Ismail Abd al-Jalil Ismail Ramadan          RFP1: 8(48)

     171. Iyad Ahmad Yusuf Sawalha                    RFP2: 2(bb)

     172. Iyad Ahmad Yusuf Sawalha                    RFP2: 2(pp)

     173. Jamal Hindi Zayed                           RFP2: 9(h)

     174. Jamal Sabri Abd al-Hamid Sweidan            RFP1: 7(54)

     175. Jamil Mizher                                RFP2: 9(i)

     176. Jamila Ibrahim Zayed                        RFP2: 13(5)

     177. Kamel Ya’qub Ta el-Ja’bari                  RFP1: 8(26)

     178. Kamil Sa’id Abu Hanish                      RFP2: 9(u)

     179. Khader Taleb Khader Dhiyab                  RFP2: 8(a)

     180. Khaldoun Walid Aref Mohammed Sha'ablu       RFP1: 10(5)

     181. Khaled Abd al-Rahman Muhammad Matar         RFP2: 14(7)

     182. Khaled Abu Hilal                            RFP2: 16(d)

     183. Khaled al-Batsh                             RFP2: 2(xx)

     184. Khaled Ibrahim Al Abd Al Quqa               RFP1: 2(z)

     185. Khaled Khalil Hamed                         RFP2: 7(10)

     186. Khaled Muhammad Amin al-Haj                 RFP1: 2(t)

     187. Khaled Nabil Khamis Mohammed Sawalha        RFP1: 10(2)

     188. Khalil Abd al-Haq Sayid Amira               RFP1: 8(78)

     189. Khalil Hasan Yassin Ahmed Yassin’s nephew   RFP1: 2(c)

     190. Khalil Mohamad Amin El Haj                  RFP1: 2(aa)

     191. Khulud Faisal ‘Abd al-Rahman al-Shalabi     RFP1: 8(55)

     192. Lateefah Naji Othman Chawa                  RFP1: 2(w)

     193. Linda Ahmad Muhammad Shibani                RFP2: 19(51)

     194. Luay Jihad Fathallah al-Sa’di               RFP2: 2(h)



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                              Name                    Miller/Pam RFP Number

     195. Maher Ali Mahmoud al-Rai                  RFP2: 9(l)

     196. Mahmud Abu Hamam                          RFP2: 16(b)

     197. Mahmud Ahmad Muhammad Shawer              RFP2: 16(l)

     198. Mahmud al-Hindi                           RFP2: 2(z)

     199. Mahmud al-Majzub                          RFP2: 2(u)

     200. Mahmud Khadr Muhammad                     RFP1: 7(39)

     201. Mahmud Qasem Arafat al-Razem              RFP2: 6(4)

     202. Mahmud Saadi Aliwa                        RFP1: 9(8)

     203. Maisun Husein Abu Zaina                   RFP1: 8(53)

     204. Majed Qini                                RFP2: 16(x)

     205. Malika Tawfiq al-Qader Tahayna            RFP2: 4(33)

     206. Malkiya Tawfiq Muhammad Arida             RFP2: 6(18)

     207. Manahel Ali Ibrahim Shuqayrat             RFP2: 13(7)

     208. Mansur Ahmad abu Hamid                    RFP1: 9(13)

     209. Martyr Institiute                         RFP2: 17h

     210. Marwan Kaid Mutliq abd al-Karim Zalum     RFP2: 16(m)

     211. Maryam Abu Diqa                           RFP2: 9(e)

     212. Maryam Dawud Abdalla al-Ghanimat          RFP1: 8(52)

     213. Maslama Thabet                            RFP2: 16(c)

     214. Mirfat Amin Muhammad Nawawira             RFP2: 19(20)

     215. Mohamad Saleh Taha                        RFP1: 3(b)

     216. Mohamed Redwan Ibrahim Yasine             RFP1: 2(bb)

     217. Mohammed Qasem Ahmed Aradah               RFP2: 16(s)

     218. Muhammad Abd al-Aziz Ghanem               RFP2: 2(l)

     219. Muhammad abd al-Hadi Aqal                 RFP1: 7(4)

     220. Muhammad Dahduh                           RFP2: 2(t)



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                              Name                    Miller/Pam RFP Number

     221. Muhammad Dahlan                           RFP2: 15(c)

     222. Muhammad Hasan Dar Qadi                   RFP2: 19(16)

     223. Muhammad Hijazi                           RFP2: 16(bb)

     224. Muhammad Musa Mahmud Jafal                RFP2: 13(4)

     225. Muhammad Nayef Fayez Hardan               RFP2: 5(10)

     226. Muhammad Said al-Hindi                    RFP2: 2(cc)

     227. Muhammad Saleh Muhammad Sayfi             RFP2: 2(n)

     228. Muhammad Salim Said Abu Hasna             RFP1: 8(25)

     229. Muhammad Saqr Ragheb al-Zatme             RFP2: 2(gg)

     230. Muhammad Shauqi Sa’id Nazal               RFP2: 9(f)

     231. Muhanad Mahmoud Ibrahim Abu Zor           RFP1: 10(1)

     232. Muna Ayesh Abd Abayat                     RFP2: 19(49)

     233. Muna Fuad Khaled Najib                    RFP1: 8(10)

     234. Muna Salman Hussein Hassan                RFP1: 8(84)

     235. Munzir Muhammad Taysir Husein Ramadan     RFP1: 8(66)

     236. Muqlid Hamid                              RFP2: 2(aa)

     237. Murad Abd al-Fatah Abu al-Asal            RFP2: 2(hh)

     238. Mustafa al-Zibri AKA Abu Ali Mustafa      RFP2: 9(b)

     239. Mustafa Tawfiq Muhammad Awd               RFP2: 2(m)

     240. Mustafa Tawfiq Zaydan                     RFP2: 2(x)

     241. Muzahira Ahmad Farhan al-Sharbati         RFP1: 8(51)

     242. Na’el al-Sharif                           RFP2: 16(ii)

     243. Nada Jamal al-Jayousi                     RFP1: 2(u)

     244. Naima Ahmad Muhammad Zarab                RFP1: 8(63)

     245. Najwi Hamdan Bakir Abu Hasira             RFP2: 6(2)

     246. Naser Badawi                              RFP2: 16(f)



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                                Name                             Miller/Pam RFP Number

     247. Nasser Ahmad Yussuf Shawkah                          RFP2: 2(yy)

     248. Nasser al-Din Abu Harbid                             RFP2: 16(ff)

     249. Ni’ama Nuhad Khalil Dukhan                           RFP1: 8(4)

     250. Nihaya Khaled Mahmud al-Khatib                       RFP2: 2(q)

     251. Nu’man Taher Sadeq Tahaina                           RFP2: 2(ii)

     252. Nur Nihad Khalil al-Kayal                            RFP2: 20(4)

     253. Nureddin Adnan Sa’id Daoud                           RFP2: 9(g)

     254. Omar Ali Abd al-Al                                   RFP1: 3(c)

     255. Omar Mohhamed Awad Abu Al-Rob                        RFP1: 10(6)

     256. Osama Khaled al-Silawi                               RFP2: 16(e)

     257. Othman Muhammad Ata Maragha                          RFP2: 9(s)
          Palestinian Authority Economic Affairs
     258. Department                                           RFP2: 17o

          Palestinian Authority Ministry of Detainees and
     259. ex-Detainees                                         RFP2: 17n

          Palestinian Ministry of Social Welfare's Institute
     260. for the Care of Martyrs' Families and the Injured    RFP2: 23


     261. Progressive Labor Front                              RFP2: 10d

     262. Ra’ed Musa Ibrahim Nazal                             RFP2: 9(q)

     263. Ra’fat Ali Muhammad al-Aruqi                         RFP2: 9(j)

     264. Rabah Hayel Takrouri                                 RFP1: 2(cc)

     265. Rabi’a Fayez Muhammad Sa’id                          RFP1: 8(57)

     266. Rabi’aa Fayiz Muhammad Sa’id                         RFP1: 8(59)

     267. Raed Jundiya                                         RFP2: 2(ww)

     268. Raeda Mustafa Hasan Mushtaha                         RFP1: 8(77)

     269. Randa Isma’il Ahmad Aqel                             RFP1: 8(47)

     270. Rida Abdalla Isma’il al-Sanwar                       RFP1: 8(17)



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                                Name                    Miller/Pam RFP Number

     271. Rida Abdalla Isma’il al-Sinwar              RFP1: 8(83)

     272. Rim Ibrahim Hamdan Abu al-Al                RFP1: 8(11)

     273. Riyad Dakhlallah al-Amur                    RFP2: 16(kk)

     274. Riyad Muhammad Ali Badir                    RFP2: 2(qq)

     275. Sabah al-Ja’bari                            RFP1: 9(2)

     276. Sabah Saeed Hasan Dar Khalil                RFP1: 3(d)

     277. Sabiha Umar Yusuf al-Far                    RFP2: 13(13)

     278. Safiya Abd al-Qader Dudin                   RFP1: 8(79)

     279. Sahr Muhammad ‘Ashur                        RFP1: 8(21)

     280. Salah Abu Hasnin                            RFP2: 2(y)

     281. Saleh Abdallah al-Barghuthi                 RFP1: 8(7)

     282. Sami al-Arian                               RFP2: 2(e)

     283. Samir Subhi Salah al-Shawa                  RFP1: 8(1)

     284. Samira Suliman al-Barghuthi                 RFP2: 20(2)

     285. Samiya Jamal Musleh                         RFP1: 8(49)

     286. Samiya Kamal Nazmi Abd al-Ghani             RFP2: 5(32)

     287. Sayed Abu Msameh                            RFP1: 3(e)

     288. Shahdi Mhanna                               RFP2: 2(uu)

     289. Shaher Ali Mahmoud al-Rai                   RFP2: 9(k)

     290. Shams Ahmad Mahmud al-Baluji                RFP1: 8(35)

     291. Sheikh Sharif Tahayna                       RFP2: 2(kk)

     292. Sirhan Sirhan                               RFP2: 16(i)

     293. Suad Suliman Istiti                         RFP1: 8(6)

     294. Subhi Abd al-Karim Abd al-Fatah Balbisi     RFP2: 5(30)

     295. Subhiya Saber Hussein Hasan abu Khalifa     RFP1: 8(30)

     296. Suhair Ibrahim al-Barghuthi                 RFP1: 8(60)



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                              Name                            Miller/Pam RFP Number

     297. Tamer Khuweir                                     RFP2: 2(r)

     298. Tareq Qa’adan                                     RFP2: 2(tt)

     299. Taysir Shehada Rashid Jabali                      RFP2: 4(15)

     300. Umar Muhammad Nimer Abu Rashed                    RFP2: 13(11)

     301. Union of Agricultural Work Committees             RFP2: 10c

     302. Union of Palestinian Women's Committees           RFP2: 10e

     303. Usri Fayad                                        RFP2: 2(ll)
          Vanguards of the Popular Army a/k/a Tala'I Aal-
     304. Jaysh al-Sha'bi                                   RFP2: 17k

     305. Wa’el Mahmud ‘Muhammad Ali’ Qasem                 RFP1: 3(k)

     306. Wafaa Fawzi al-Abd Dawidar                        RFP1: 8(71)

     307. Watfa Abd al-Fatah Muhammad Hanani                RFP2: 13(2)

     308. Watfa Ata Jaradat                                 RFP2: 13(3)

     309. Ya’qub Muhammad Abu Rumi                          RFP2: 6(15)

     310. Yaman Tayeb Ali Faraj                             RFP2: 9(p)

     311. Yusra Farid Rashid Mahrum                         RFP2: 13(10)

     312. Yusuf Mohammed Rareb Hamdan Abu Al-Rob            RFP1: 10(7)

     313. Zaher Abu Harbid                                  RFP2: 16(ee)

     314. Zakaria Zbeidi                                    RFP2: 16(j)

     315. Zakiya Abd al-Rahman Tarkhan                      RFP2: 13(6)

     316. Zaynab Sha’ban Ahmad Taha                         RFP1: 8(23)

     317. Ziyad al-Nakhala                                  RFP2: 2(a)




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Aaron Schlanger

From:             James P. Bonner <JBonner@fbrllp.com>
Sent:             Thursday, November 7, 2019 11:41 AM
To:               Ingerman, Brett; Aaron Schlanger; Siegfried, Jonathan; Peck, Andrew
Cc:               Gary Osen; Ari Ungar; Patrick L. Rocco; 'njnudelman@hnklaw.com'; Susan M. Davies;
                  trkalik@hnklaw.com
Subject:          RE: Miller v. Arab Bank and Pam v. Arab Bank
Attachments:      Plaintiffs mark-up of Exhibit A to Letter 10-30-2019.pdf



Brett,

Thank you for your email. We believe that your statistics are inaccurate. The attached chart
provides the Spitzen Report references for most of the names on your Exhibit A. In addition,
the chart briefly describes the relevance of the entities and individuals who did not appear in the
Spitzen Report or its appendices. We would be happy to discuss these names with you
further. Next week, all day Tuesday or Wednesday before 3 P.M. would be best for us.

Best regards,
Jim


James P. Bonner
FLEISCHMAN BONNER & ROCCO LLP
NJ Office: (908) 516-2066
Cell: (646) 415-1399
JBonner@fbrllp.com




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                         Name                        Miller/Pam RFP Number                           Notes
 1. A’isha Masah Haniya                        RFP1: 8(9)                      Spitzen Appendix 7, p.3


 2. Abd Al-Karim Omar Mohammed Yusuf Ahmed RFP1: 10(8)                         Al Ansar Recipient, Arab Bank Jenin Account
                                                                               Number: 579732/3
 3. Abd al-Karim Rateb Yunes Aweis             RFP2: 16(q)                     AAMB operative who dispatched the suicide
                                                                               bomber of the King George Street Bombing.
 4. Abd Al-Magid Najib Naji Daghlas            RFP2: 12(6)                     Spitzen Appendix 17, p.2


 5. Abd al-Rahim Maluh                         RFP2: 9(d)                      PFLP's Deputy General Secretary.


 6. Abd al-Rauf Muhammad al-Mabhuh             RFP1: 8(37)                     Spitzen Appendix 7, p.14


 7. Abdalla Khalil Abdalla Abu al-Rab          RFP1: 8(86)                     Spitzen Appendix 7, p.32


 8. Abir Fayiz Ali Ramana                      RFP1: 8(36)                     Spitzen Appendix 7, p.13


 9. Adnan Muhammad Ata Maragha                 RFP2: 9(r)                      PFLP operative who was imprisoned by Israel from
                                                                               1989 to 2011.

10. Afaf Muhammad Abu Armila                   RFP1: 8(56)                     Spitzen Appendix 7, p.21


11. Ahmad Abd al-Rahman Abu Hasira             RFP2: 2(w)                      PIJ operative.


12. Ahmad al-Mudalal                           RFP2: 2(ee)                     PIJ operative and the Director of Al-Jama'a al-
                                                                               Islamiya (PIJ students body).
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13. Ahmad Ibrahim Musleh al-Satri                RFP2: 20(3)                      Spitzen Appendix 15, p.1


14. Ahmad Othman Muhammad Badr                   RFP1: 3(y)                       Hamas operative involved in the Bus 14A
                                                                                  Bombing.
15. Ahmad Sa’adat a/k/a Ahmad Sa’dat Abd al-     RFP2: 9(c)                       PFLP's Secretary General. He dispatched the
    Rasul                                                                         terrorist cell that assassinated Israeli Tourism
                                                                                  Minister Rehavam Ze'evi on October 17, 2001. The
                                                                                  IDF military court sentenced Sa'adat to 30 years in
                                                                                  prison.

16. Ahmad Taleb Mustafa Barghuthi al-Faransi     RFP2: 16(w)                      AAMB operative who took part in planning and
                                                                                  executing several terrorist attacks including the
                                                                                  January 22, 2002 Bus Stop Shooting Rampage in
                                                                                  Jerusalem.

17. Ahmad Tawfiq Muhammad Arida                  RFP2: 5(34)                      Received Saudi Committee martyr payment
                                                                                  (ABPLC030765) for Sufyan Arida, PIJ (Al-Quds
                                                                                  Brigades) operative.

18. Ahmad Yusuf Maghrabi                         RFP2: 16(k)                      Senior AAMB leader in Bethlehem. He was
                                                                                  arrested by Israel on May 27, 2002 and was
                                                                                  sentenced to 18 life sentences.


19. Akef Fayez Nazal                             RFP2: 2(nn)                      PIJ commander in Qalqilya. Nazal was arrested by
                                                                                  IDF forces on August 17, 2003.
20. Ala al-Din Mahmud Muhammad Abasi             RFP1: 3(l)                       Hamas operative involved in the Sheffield Club
                                                                                  Bombing.
21. Alaa Tafesh                                  RFP2: 16(cc)                     Senior Fatah official.




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22. Ali Juma Ahmad Juma                         RFP1: 9(6)                       Spitzen Appendix 6, p.2


23. Ali Muhammad Abd al-Hadi Sayam              RFP2: 14(2)                      Spitzen Appendix 18, p.1


24. Ali Suliman Said al-Sa’adi                  RFP2: 2(dd)                      Senior PIJ commander in Jenin.


25. Ali Zafour                                  RFP2: 2(vv)                      Senior PIJ operative and leader in Jenin.


26. Al-Karmel Cultural and Social Development   RFP2: 10(a)                      PFLP organization. The association's founder,
    Association                                                                  Ayman al-Hur, is a senior PFLP operative.


27. Almatha Abd al-Hafit’ Ibrahim Jamjum        RFP1: 8(68)                      Spitzen Appendix 7, p.26


28. al-Maza Ramadan Mahmud al-Husni             RFP2: 6(11)                      Spitzen Appendix 11, p.4


29. Al-Qawasmeh Neighbourhood Charity a/k/a     RFP2: 17(l)                      Fatah charitable society in Gaza.
    Charitable Al-Qawasmeh Neighborhood Society


30. Amal Abd al-Karim Khalil Bishawi            RFP1: 7(50)                      Spitzen Appendix 5, p.19


31. Amal Hussein Ali Aghbariya                  RFP2: 19(32)                     Spitzen Appendix 13, p.6


32. Amar Yusuf Kalbuna                          RFP1: 9(12)                      Spitzen Appendix 6, p.3


33. Amer Muhammad Musa Jafal                    RFP2: 9(n)                       Spitzen Appendix 19, p.2




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34. Amjad Mahmud Ibrahim Fakhuri              RFP2: 16(aa)                     One of the founders of AAMB.

35. Amjad Sulieman Hassan Hussein Abu Salim   RFP1: 10(4)                      Al Ansar Recipient, Arab Bank Jenin Account
                                                                               Number: 449290
36. Amnah Reehan                              RFP2: 16(rr)                     Employee of the Palestinian Authority Preventative
                                                                               Security Service, Political Security (Fatah) and
                                                                               next door neighbor of Wafa Idris, the suicide
                                                                               bomber responsible for the January 27, 2002
                                                                               Jerusalem Bombing.

37. Anwar Mahmud Ahmad Hamran                 RFP2: 2(ff)                      Commander of PIJ (Al-Quds Brigades) in northern
                                                                               Samaria responsible for the terrorist attack in
                                                                               Mahane Yehuda in the 1990s.


38. Ata Fares Ataya Jaber                     RFP2: 19(30)                     Spitzen Appendix 13, p.6


39. Ataf Dawud Hasan Aliyan                   RFP2: 2(p)                       Founder and Chairwoman of PIJ's Islamic Women
                                                                               Charitable Society for Purity.

40. Atef Abayat                               RFP2: 16(v)                      AAMB commander in the southern West Bank.


41. Awad Yusuf Mustafa Awad                   RFP2: 13(8)                      Spitzen Appendix 19, p.3


42. Ayman al-Hur                              RFP2: 9(x)                       Executive Manager and Founder of Al-Karmel
                                                                               Cultural and Social Development Association
                                                                               (PFLP).

43. Ayman Anwar Ahmad Arafat                  RFP1: 3(a)                       Spitzen Report p.197




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44. Ayman Yusuf Abd al-Rahman Abd al-Wahab          RFP1: 7(25)                     Spitzen Appendix 5, p.10


45. Baha al-Din al-Madhun                           RFP1: 2(r)                      Spitzen Report p.194


46. Bahaa Abu Al Ata                                RFP2: 2(ss)                     Member of the PIJ Supreme Military Council;
                                                                                    commander of the northern battalion of PIJ (Al-
                                                                                    Quds Brigades) in the Gaza Strip; SDGT (Sept.
                                                                                    2019).

47. Bahiya Hamad Nimer Jabara                       RFP2: 20(1)                     Spitzen Appendix 15, p.1


48. Banners of Charity a/k/a Bayareq al-Ataa Society RFP2: 3(g)                     PIJ society in Tulkarem.


49. Basel Asmar                                     RFP2: 9(v)                      PFLP operative; attempted to murder Israelis in
                                                                                    several attacks.
50. Bashir Musa Muhammad Nafi                       RFP2: 2(f)                      PIJ senior leader in the UK.


51. Bilal Abu Amsha                                 RFP2: 15(e)                     AAMB Commander in Tulkarem. Held an account
                                                                                    in Arab Bank - Al-Bireh branch.


52. Birzeit Univeristy Fatah Youth Movement         RFP2: 17(m)                     Fatah's youth movement at Birzeit University. It
                                                                                    was led by Marwan Bargouthi, who is currrently
                                                                                    imprisoned in Israel for murdering 5 Israelis.


53. Civil Society Organizations Commission          RFP2: 17€                       a/k/a Council of National Organizations, a Fatah
                                                                                    organization currently headed by Sultan Abu al-
                                                                                    Eynain.



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54. Dalal Ali Hasan al-Baz                        RFP1: 8(43)                       Spitzen Appendix 7, p.16


55. Dalal Muhammad Isa el-Zaban                   RFP1: 8(33)                       Spitzen Appendix 7, p.12


56. Development Charitable Society                RFP2: 17(i)                       Fatah charitable society founded in northern Gaza
                                                                                    Strip.

57. Fadel Murshid Hamdan Baker                    RFP1: 8(54)                       Spitzen Appendix 7, p.20


58. Fadi Qafisha                                  RFP2: 16(h)                       AAMB commander in Nablus responsible for
                                                                                    organizing many suicide bombings and other
                                                                                    attacks on Israelis and assembling many explosive
                                                                                    belts.

59. Fahed Abdallah Muhammad Sawalha               RFP2: 7(9)                        PIJ operative who received a Saudi Committee
                                                                                    injured payment (ABPLC017138).


60. Family of Abd al-Fatah Muhammad Musleh        RFP2: 4(4); RFP2: 5(5)            Spitzen Appendix 8 and Appendix 9
    Rashed*
61. Family of Abd al-Jaber Abd al-Qader Abd al-   RFP2: 18(4)                       Spitzen Appendix 12
    Jaber Khaled
62. Family of Abd al-Karim Issa Khalil Tahayna    RFP2: 4(34)                       ABPLC030823; Abd al-Karim Issa Khalil Tahayna
                                                                                    was a PIJ (Al-Quds Brigades) suicide bomber who
                                                                                    carried out the March 5, 2002 attack on Bus 823 in
                                                                                    Afula.

63. Family of Abd al-Rahman Muhammad Abu          RFP2: 19(7)                       Spitzen Appendix 13
    Bakra




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64. Family of Ahmad Abd al-Mun’im Daraghima      RFP2: 4(24)                       Spitzen Appendix 8


65. Family of Akram Ishaq Abdalla al-Nabtiti     RFP2: 4(10)                       Spitzen Appendix 8


66. Family of Alaa’ Hilal Abd al-Satar Sabah     RFP2: 4(12)                       Spitzen Appendix 8


67. Family of Ali Ibrahim Abd al-Rahman al-Julani RFP2: 19(11)                     Spitzen Appendix 13


68. Family of Amin Muhammad Hafez Sawafita       RFP2: 19(13)                      Spitzen Appendix 13


69. Family of Anwar Awni Abd al-Ghani            RFP2: 5(33)                       al-Ghani was a PIJ operative.


70. Family of As’ad Abd al-Rahman As’ad Naser    RFP2: 5(3)                        Spitzen Appendix 9
    Daqa
71. Family of Ashraf Mahmud abd al-Rahim Nimer RFP2: 5(13)                         Spitzen Appendix 9
    Bardawil
72. Family of Ayman Muhammad Fayeq Jalad         RFP2: 12(2)                       Spitzen Appendix 17


73. Family of Dargham Izat Muhammad Zakarna      RFP2: 19(15)                      Spitzen Appendix 13


74. Family of Dawud Ali Ahmad Sa’ad Abu Sawi     RFP2: 4(18)                       Spitzen Appendix 8


75. Family of Fu’ad Khader Abu Sariya            RFP2: 11(4)                       Spitzen Appendix 16




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76. Family of Hasan Muhammad Hasan al-Qadi      RFP2: 19(17)                     Spitzen Appendix 13


77. Family of Hatem Yaqin Ayesh Al-Sheweikeh    RFP2: 4(22)                      Spitzen Appendix 8. Operative who carried out
                                                                                 November 4, 2001 Jerusalem Bus Shooting.

78. Family of Hukm Jamal Taya Qabala            RFP2: 19(25)                     Spitzen Appendix 13


79. Family of Husein Muhammad Salem Abayat      RFP2: 19(50)                     AAMB commander in Bethlehem responsible for
                                                                                 shooting attacks towards the Gilo neighborhood in
                                                                                 Jerusalem.

80. Family of Ibrahim Muhammad al-Wahadna       RFP2: 18(18)                     Spitzen Appendix 12


81. Family of Ibrahim Muhammad Mahmud Hasuna RFP2: 18(14)                        Spitzen Appendix 12


82. Family of Ikrima Muhammad Khader Istiti     RFP2: 19(9)                      Spitzen Appendix 13


83. Family of Imad Hamdi Saleh Awd              RFP2: 19(27)                     Spitzen Appendix 13


84. Family of Isma’il Yusuf al-Sa’idani         RFP2: 11(6)                      Spitzen Appendix 16


85. Family of Iyad Muhammad Nayef Hardan        RFP2: 5(11)                      Spitzen Appendix 9


86. Family of Jamal Abd al-Qader Abd al-Razeq   RFP2: 19(19)                     Spitzen Appendix 13




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87. Family of Jamal Ubayd Allah Nawawira Abayat RFP2: 19(21)                        Spitzen Appendix 13


88. Family of Jihad Ibrahim al-Titi                RFP2: 18(12)                     Spitzen Appendix 12


89. Family of Jihad Mahmud Othman al-Alul          RFP2: 19(23)                     Spitzen Appendix 13


90. Family of Khalil Muhammad Mahmud al-Harb       RFP2: 12(5)                      Spitzen Appendix 17


91. Family of Maher al-Balbisi                     RFP2: 5(31)                      Balbisi was a PIJ operative who prepared bombs
                                                                                    and explosives at his parents' farm. His father,
                                                                                    Subhi Abd al-Karim Abd al-Fatah Balbisi, received
                                                                                    martyr payments from the Saudi Committee and
                                                                                    ALF.

92. Family of Mahmud “Nursi” Tawalbeh              RFP2: 5(7)                       Spitzen Appendix 9


93. Family of Mahmud abd al-Rahman al-Muqid        RFP2: 5(15)                      Spitzen Appendix 9


94. Family of Mahmud Umar Ali Jaser                RFP2: 19(29)                     Spitzen Appendix 13


95. Family of Muhammad Ahmad Abd al-Rahman         RFP2: 18(2)                      Spitzen Appendix 12
    Daraghima Shu’ani
96. Family of Muhammad Ahmad Abu Khader            RFP2: 5(19)                      Spitzen Appendix 9
    Basharat
97. Family of Muhammad Ali Muhammad al-Sus         RFP2: 19(40)                     Spitzen Appendix 13




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 98. Family of Muhammad Atwa Abd al-Al              RFP2: 5(21)                      Spitzen Appendix 9


 99. Family of Muhammad Jamil Hussein Faraj         RFP2: 4(32)                      Spitzen Appendix 8


100. Family of Muhammad Mahmud Baker Naser          RFP2: 4(30)                      Spitzen Appendix 8


101. Family of Muhammad Mashhur Muhammad            RFP2: 16(n)                      Muhammad Mashhur Muhammad Hashaikeh was
     Hashaikeh                                                                       the suicide bomber in the March 21, 2002 King
                                                                                     George Street Bombing.

102. Family of Muhammad Ramadan Muhammad al- RFP2: 19(42)                            Spitzen Appendix 13
     Kafarna


103. Family of Muhammad Yasin al-Madhun             RFP2: 19(46)                     Spitzen Appendix 13


104. Family of Munir Mustafa Ibrahim Abu Mussa      RFP2: 5(23)                      Spitzen Appendix 9


105. Family of Mustafa Ahed Hasan Anbas             RFP2: 19(38)                     Spitzen Appendix 13


106. Family of Mustafa Faysal Mustafa Abu Sariya    RFP2: 4(2)                       Spitzen Appendix 8


107. Family of Mutasem Mahmud Abdallah Makhluf RFP2: 5(29)                           Spitzen Appendix 9


108. Family of Mutaz Abd al-Majid Najib Daghlas     RFP2: 12(7)                      Spitzen Appendix 17


109. Family of Nabil Faraj al-Ara’ir                RFP2: 4(20)                      Spitzen Appendix 8




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110. Family of Nabil Muhammad Hashem al-Natsha RFP2: 5(27)                         Spitzen Appendix 9


111. Family of Nazir Muhammad Mahmud Hamad        RFP2: 18(22)                     Spitzen Appendix 12


112. Family of Nidal Ibrahim Mustafa Abu Shaduf   RFP2: 4(6)                       Spitzen Appendix 8


113. Family of Nidal Muhammad Tawfiq Aghbariya RFP2: 19(33)                        Spitzen Appendix 13


114. Family of Nidal Taysir Shehada Jabali        RFP2: 4(16)                      Spitzen Appendix 8


115. Family of Nimer Muhammad Yusuf Abu Sayfin RFP2: 4(8)                          Spitzen Appendix 8


116. Family of Ra’ed Muhammad Sa’id al-Karmi      RFP2: 19(52)                     AAMB co-founder and commander in Tulkarem.
                                                                                   His wife received martyr payments from the Saudi
                                                                                   Committee and Hezbollah's Martyrs Foundation.


117. Family of Ra’fat Ibrahim Khalaf Bajali       RFP2: 19(48)                     Spitzen Appendix 13

118. Family of Ra’fat Salim Abu Diyak             RFP2: 4(28)                      Spitzen Appendix 8


119. Family of Ramadan Ismail Muhammad Azam       RFP2: 19(36)                     Spitzen Appendix 13

120. Family of Sa’id Ibrahim Ramadan              RFP2: 18(16)                     Spitzen Appendix 12


121. Family of Sadeq Ahed Abd el-Hafez            RFP2: 11(8)                      Spitzen Appendix 16




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122. Family of Salem Taleb Salem al-Dar’awi         RFP2: 18(20)                     Spitzen Appendix 12


123. Family of Shadi Muhammad Sidqi Nasar           RFP2: 11(2)                      Spitzen Appendix 16


124. Family of Sufyan Arida                         RFP2: 5(35)                      Arida was a PIJ (Al-Quds Brigades) commander.

125. Family of Taha Muhammad Abd al-Rahman          RFP2: 5(17)                      Spitzen Appendix 9
     Zbeidi

126. Family of Talat Ata Fares Jaber                RFP2: 19(31)                     Spitzen Appendix 13


127. Family of the Martyr Ali Sayel Muhammad        RFP2: 12(3)                      Spitzen Appendix 17
     Swidan
128. Family of the Martyr Ibrahim Abd al-Karim Bani RFP1: 7(37)                      Spitzen Appendix 5, p.14
     Awda
129. Family of the Martyr Muhammad Abd Rabo         RFP1: 6(16)                      Spitzen Appendix 4, p.6
     Imad
130. Family of the Martyr Qusai Faysal Tawfiq       RFP2: 19(1)                      Spitzen Appendix 13
     Zahran
131. Family of the Martyr Yaser Husni Al-Masdar     RFP1: 7(15)                      Spitzen Appendix 5, p.5

132. Family of Umar Abd al-Fatah Hafez Yasin        RFP2: 18(10)                     Spitzen Appendix 12

133. Family of Umar Mahmud Dhib Subh                RFP2: 12(9)                      Spitzen Appendix 17

134. Family of Wa’el Mutlaq Muhammad Asaf           RFP2: 5(25)                      Spitzen Appendix 9




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135. Family of Wafa’ Ali Khalil Idris                RFP2: 18(6)                      Spitzen Appendix 12

136. Family of Walid Rasmi Sadeq Basharat            RFP2: 5(9)                       Spitzen Appendix 9

137. Family of Yaser Juma Abd al-Rahim Badawi        RFP2: 19(44)                     Spitzen Appendix 13

138. Family of Yaser Sa’id Musa Awda                 RFP2: 18(8)                      Spitzen Appendix 12


139. Family of Yusuf Muhammad Ali Sawitat            RFP2: 4(14)                      Spitzen Appendix 8

140. Family of Yusuf Muhammad Mahmud Ayesh           RFP2: 4(26)                      Spitzen Appendix 8

141. Family of Ziyad Ibrahim Ayd Amer                RFP2: 19(5)                      Spitzen Appendix 13

142. Family of Zuheir Muhammad Asad Astiti           RFP2: 19(3)                      Spitzen Appendix 13

143. Farida Ali Daqa                                 RFP2: 13(1)                      Spitzen Appendix 19, p.1


144. Faruq Qadumi                                    RFP2: 16(a)                      Founding member and General Secretary of Fatah.


145. Fatah Central Committee                         RFP2: 17(b)                      The central body of Fatah's leadership.


146. Fatah Hawks                                     RFP2: 26(f)                      One of Fatah's paramilitary and terrorist sub-
                                                                                      organizations which contributed to the
                                                                                      development of AAMB.

147. Fatah Mobilization and Organization             RFP2: 17(g)                      Fatah civil administrative body.
     Commission



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148. Fatah Revolutionary Council                 RFP2: 17(f)                     Operates as Fatah's governing body; includes
                                                                                 Palestinian members from around the world.


149. Fatah Youth Movement                        RFP2: 17(c)                     Fatah's students and youth organization used to
                                                                                 recruit AAMB operatives.
150. Fathi Shiqaqi                               RFP2: 2(d)                      Shiqaqi was the co-founder and Secretary-General
                                                                                 of the PIJ.
151. Fatima Ahmad Muhammad Hiles                 RFP1: 8(22)                     Spitzen Appendix 7, p.8


152. Force 17                                    RFP2: 26(e)                     One of Fatah's paramilitary and terrorist sub-
                                                                                 organizations which contributed to the
                                                                                 development of AAMB.

153. General Union of Palestinian Students       RFP2: 17(d)                     Organization comprising important leaders and
                                                                                 members of Fatah, including Yasser Arafat.

154. Ghasan al-Tirmasi                           RFP2: 2(s)                      PIJ (Al-Quds Brigades) senior operative.



155. Give Gaza Society                           RFP2: 17(j)                     Fatah "charitable" society.


156. Halima Abd al-Qader Yaqub al-Asta           RFP1: 8(67)                     Spitzen Appendix 7, p.26

157. Halima Ahmad Abu Fara                       RFP1: 8(40)                     Spitzen Appendix 7, p.15




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158. Hanadi Taysir Abd al-Malek Jaradat           RFP2: 2(i)                       PIJ (Al-Quds Brigades) operative in Jenin. He was
                                                                                   the suicide bomber of the Maxim Restaurant
                                                                                   Bombing, Haifa - October 4, 2003.

159. Handuma Rashed Ibrahim Wishah                RFP2: 9(t)                       Saudi Committee prisoner payment
                                                                                   (ABPLC011061); Samir Sami Quntar's adoptive
                                                                                   mother.

160. Hassan ‘Atiya Hassan Madhoun                 RFP2: 16(hh)                     AAMB senior commander in Gaza Strip.
                                                                                   Responsible for several terorrists attacks as well as
                                                                                   firing rockets into Israel.

161. Haytham Abu al-Naja                          RFP2: 16(dd)                     AAMB commander in Khan Younes (Gaza).

162. Hikmat Mustafa Hasan al-Aruqi                RFP2: 13(12)                     Spitzen Appendix 19, p.4


163. Hiyam Sa’id Khalil                           RFP1: 8(31)                      Spitzen Appendix 7, p.11


164. Husam Jaradat                                RFP2: 2(v)                       PIJ (Al-Quds Brigades) commander in West Bank.


165. Hussein Salem Amtir abu Dib                  RFP1: 7(44)                      Spitzen Appendix 5, p.17


166. Ibrahim Awd Allah Ahmad al-Hih               RFP2: 6(17)                      Senior PIJ commander. Received a Saudi
                                                                                   Committee prisoner payment (ABPLC0189531).


167. Ibrahim Yasser Ibrahim Naji Khalil           RFP1: 10(3)                      Al Ansar Recipient, Arab Bank Nablus Account
                                                                                   Number: 446225
168. Ikram Abd Salame Harez                       RFP1: 8(80)                      Spitzen Appendix 7, p.30



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169. Isma’il ‘Abd al-Rahman Ahmad al-Ghanimat    RFP1: 8(20)                     Spitzen Appendix 7, p.7


170. Ismail Abd al-Jalil Ismail Ramadan          RFP1: 8(48)                     Spitzen Appendix 7, p.18


171. Iyad Ahmad Yusuf Sawalha                    RFP2: 2(bb)                     PIJ (Al-Quds Brigades) commander in Jenin.
                                                                                 Responsible for several terror attacks during the
                                                                                 2nd Intifada.

172. Iyad Ahmad Yusuf Sawalha                    RFP2: 2(pp)                     Duplicate of RFP2: 2(bb)


173. Jamal Hindi Zayed                           RFP2: 9(h)                      Senior PFLP member.


174. Jamal Sabri Abd al-Hamid Sweidan            RFP1: 7(54)                     Spitzen Appendix 5, p.21


175. Jamil Mizher                                RFP2: 9(i)                      PFLP Political Bureau member.


176. Jamila Ibrahim Zayed                        RFP2: 13(5)                     Spitzen Appendix 19, p.2


177. Kamel Ya’qub Ta el-Ja’bari                  RFP1: 8(26)                     Spitzen Appendix 7, p.9


178. Kamil Sa’id Abu Hanish                      RFP2: 9(u)                      Commander of the PFLP's Abu Ali Mustafa
                                                                                 Brigades in the Northern area of the West Bank.
                                                                                 Planned several terorrist attacks including a suicide
                                                                                 attack in June 2002 in Itamar and May 2002
                                                                                 Suicide Bombing in Netanya.




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179. Khader Taleb Khader Dhiyab                   RFP2: 8(a)                      Operative of the PFLP's Abu Ali Mustafa Brigades.


180. Khaldoun Walid Aref Mohammed Sha'ablu        RFP1: 10(5)                     Al Ansar Recipient, Arab Bank Nablus Account
                                                                                  Number: 447522
181. Khaled Abd al-Rahman Muhammad Matar          RFP2: 14(7)                     Spitzen Appendix 18, p.2


182. Khaled Abu Hilal                             RFP2: 16(d)                     Hilal was a spokesperson for AAMB in the Gaza
                                                                                  Strip.
183. Khaled al-Batsh                              RFP2: 2(xx)                     Senior PIJ leader.


184. Khaled Ibrahim Al Abd Al Quqa                RFP1: 2(z)                      Spitzen Report pp.196-97


185. Khaled Khalil Hamed                          RFP2: 7(10)                     PIJ (Al-Quds Brigades) operative. Received a
                                                                                  Saudi Committee injured payment
                                                                                  (ABPLC018460).

186. Khaled Muhammad Amin al-Haj                  RFP1: 2(t)                      Spitzen Report pp.192-93


187. Khaled Nabil Khamis Mohammed Sawalha         RFP1: 10(2)                     Al Ansar Recipient, Arab Bank Nablus Account
                                                                                  Number: 424113
188. Khalil Abd al-Haq Sayid Amira                RFP1: 8(78)                     Spitzen Appendix 7, p.30


189. Khalil Hasan Yassin (Ahmed Yassin’s nephew) RFP1: 2(c)                       Spitzen Report pp.176-77


190. Khalil Mohamad Amin El Haj                   RFP1: 2(aa)                     Recipient of funds tranfers from Hamas facilitator,
                                                                                  Yusuf el-Hayek (ABPLC212061).




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191. Khulud Faisal ‘Abd al-Rahman al-Shalabi      RFP1: 8(55)                      Spitzen Appendix 7, p.20


192. Lateefah Naji Othman Chawa                   RFP1: 2(w)                       Spitzen Report pp.200-01


193. Linda Ahmad Muhammad Shibani                 RFP2: 19(51)                     Recipient of Saudi Committee martyr payment
                                                                                   (ABPLC030682). Wife of Ra'ed al-Karmi, AAMB
                                                                                   commander in the West Bank.

194. Luay Jihad Fathallah al-Sa’di                RFP2: 2(h)                       PIJ (Al-Quds Brigades) commander in the West
                                                                                   Bank.


195. Maher Ali Mahmoud al-Rai                     RFP2: 9(l)                       PFLP Commander.


196. Mahmud Abu Hamam                             RFP2: 16(b)                      Fatah spokesperson.


197. Mahmud Ahmad Muhammad Shawer                 RFP2: 16(l)                      Senior AAMB leader in Qalqilya.

198. Mahmud al-Hindi                              RFP2: 2(z)                       Head of PIJ in the Gaza Strip.


199. Mahmud al-Majzub                             RFP2: 2(u)                       Member of the PIJ Shura Council.


200. Mahmud Khadr Muhammad                        RFP1: 7(39)                      Spitzen Appendix 5, p.15


201. Mahmud Qasem Arafat al-Razem                 RFP2: 6(4)                       Spitzen Appendix 11, p.1


202. Mahmud Saadi Aliwa                           RFP1: 9(8)                       Spitzen Appendix 6, p.2




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203. Maisun Husein Abu Zaina                      RFP1: 8(53)                     Spitzen Appendix 7, p.20



204. Majed Qini                                   RFP2: 16(x)                     Senior Fatah operative responsible for the February
                                                                                  2002 Mehola Bombing.

205. Malika Tawfiq al-Qader Tahayna               RFP2: 4(33)                     Received a Saudi Committee martyr payment
                                                                                  (ABPLC030823). Mother of Abd al-Karim Issa
                                                                                  Khalil Tahayna, a PIJ (Al-Quds Brigades) suicide
                                                                                  bomber, who carried out the March 5, 2002 attack
                                                                                  on Bus 823 in Afula.

206. Malkiya Tawfiq Muhammad Arida                RFP2: 6(18)                     Received Saudi Committee prisoner payment
                                                                                  (ABPLC019014) for Sufyan Arida, PIJ (Al-Quds
                                                                                  Brigades) operative.
207. Manahel Ali Ibrahim Shuqayrat                RFP2: 13(7)                     Spitzen Appendix 19, p.3



208. Mansur Ahmad abu Hamid                       RFP1: 9(13)                     Spitzen Appendix 6, p.3


209. Martyr Institiute                            RFP2: 17(h)                     Ministry of Social Affairs, Martyrs’ Families &
                                                                                  Injured Care Establishment.
210. Marwan Kaid Mutliq abd al-Karim Zalum        RFP2: 16(m)                     AAMB commander in Hebron.

211. Maryam Abu Diqa                              RFP2: 9(e)                      Member of PFLP's Political Bureau.


212. Maryam Dawud Abdalla al-Ghanimat             RFP1: 8(52)                     Spitzen Appendix 7, p.19




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213. Maslama Thabet                           RFP2: 16(c)                      AAMB commander in Tulkarem.


214. Mirfat Amin Muhammad Nawawira            RFP2: 19(20)                     Spitzen Appendix 13, p.5

215. Mohamad Saleh Taha                       RFP1: 3(b)                       Spitzen Report pp.185-86


216. Mohamed Redwan Ibrahim Yasine            RFP1: 2(bb)                      Recipient of funds tranfers from Hamas facilitator,
                                                                               Yusuf el-Hayek (ABPLC212006).
217. Mohammed Qasem Ahmed Aradah              RFP2: 16(s)                      AAMB operative affilliated with Qahira Said Ali
                                                                               Sa'adi (RFP2: 16(o)), who participated in the King
                                                                               George Street Bombing.
218. Muhammad Abd al-Aziz Ghanem              RFP2: 2(l)                       Director of PIJ's Al-Ihsan Charitable Society -
                                                                               Jenin branch.

219. Muhammad abd al-Hadi Aqal                RFP1: 7(4)                       Spitzen Appendix 5, p.2


220. Muhammad Dahduh                          RFP2: 2(t)                       Senior PIJ commander in Gaza.


221. Muhammad Dahlan                          RFP2: 15(c)                      Senior Fatah leader and commander of one or more
                                                                               of its "security" services.

222. Muhammad Hasan Dar Qadi                  RFP2: 19(16)                     Spitzen Appendix 13, p.4

223. Muhammad Hijazi                          RFP2: 16(bb)                     AAMB operative who commanded the Ayman
                                                                               Jawda Group (named after AAMB operative
                                                                               Ayman Jawda, who was responsible for the 2002
                                                                               suicide bombing at the Erez crossing).




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224. Muhammad Musa Mahmud Jafal                 RFP2: 13(4)                      Spitzen Appendix 19, p.2


225. Muhammad Nayef Fayez Hardan                RFP2: 5(10)                      Spitzen Appendix 9, p.2


226. Muhammad Said al-Hindi                     RFP2: 2(cc)                      PIJ co-founder.


227. Muhammad Saleh Muhammad Sayfi              RFP2: 2(n)                       Treasurer of PIJ's Al-Ihsan Charitable Society -
                                                                                 Tulkarem branch.


228. Muhammad Salim Said Abu Hasna              RFP1: 8(25)                      Spitzen Appendix 7, p.9


229. Muhammad Saqr Ragheb al-Zatme              RFP2: 2(gg)                      PIJ commander in Gaza Strip, bomb engineer and
                                                                                 responsible for many terrorist attacks.

230. Muhammad Shauqi Sa’id Nazal                RFP2: 9(f)                       Recruited to the PFLP's Abu Ali Mustafa Brigades
                                                                                 by Raed Nazal, who planned the February 16, 2002
                                                                                 Pizzeria Bombing in Karnei Shomron.


231. Muhanad Mahmoud Ibrahim Abu Zor            RFP1: 10(1)                      Al Ansar Recipient, Arab Bank Nablus Account
                                                                                 Number: 445931
232. Muna Ayesh Abd Abayat                      RFP2: 19(49)                     Received Saudi Committee martyr payment
                                                                                 (ABPLC010601) for Husein Abayat, AAMB
                                                                                 commander in southern West Bank.

233. Muna Fuad Khaled Najib                     RFP1: 8(10)                      Spitzen Appendix 7, p.3


234. Muna Salman Hussein Hassan                 RFP1: 8(84)                      Spitzen Appendix 7, p.31




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235. Munzir Muhammad Taysir Husein Ramadan     RFP1: 8(66)                      Spitzen Appendix 7, p.25


236. Muqlid Hamid                              RFP2: 2(aa)                      Head of the PIJ (Al-Quds Brigades) in Jebalya
                                                                                Refugee Camp.

237. Murad Abd al-Fatah Abu al-Asal            RFP2: 2(hh)                      PIJ (Al-Quds Brigades) suicide bomber.

238. Mustafa al-Zibri AKA Abu Ali Mustafa      RFP2: 9(b)                       Co-founder of the Popular Front for the Liberation
                                                                                of Palestine (PFLP).
239. Mustafa Tawfiq Muhammad Awd               RFP2: 2(m)                       Director of PIJ's Al-Ihsan Charitable Society -
                                                                                Tulkarem.


240. Mustafa Tawfiq Zaydan                     RFP2: 2(x)                       Chairman of the PIJ organization in Tulkarem
                                                                                called "Banners of Charity."

241. Muzahira Ahmad Farhan al-Sharbati         RFP1: 8(51)                      Spitzen Appendix 7, p.19


242. Na’el al-Sharif                           RFP2: 16(ii)                     Senior AAMB commander in the western Gaza
                                                                                Strip.

243. Nada Jamal al-Jayousi                     RFP1: 2(u)                       Spitzen Report pp.202-03


244. Naima Ahmad Muhammad Zarab                RFP1: 8(63)                      Spitzen Appendix 7, p.24


245. Najwi Hamdan Bakir Abu Hasira             RFP2: 6(2)                       Spitzen Appendix 11, p.1


246. Naser Badawi                              RFP2: 16(f)                      AAMB commander.




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247. Nasser Ahmad Yussuf Shawkah                 RFP2: 2(yy)                      PIJ operative in Bethlehem. Received money from
                                                                                  Syria to his and his fiancée's Arab Bank account.


248. Nasser al-Din Abu Harbid                    RFP2: 16(ff)                     AAMB commander in Beit Hannun.


249. Ni’ama Nuhad Khalil Dukhan                  RFP1: 8(4)                       Spitzen Appendix 7, p.1


250. Nihaya Khaled Mahmud al-Khatib              RFP2: 2(q)                       Deputy Chairwoman of The Islamic Women
                                                                                  Charitable Society for Purity (PIJ).
251. Nu’man Taher Sadeq Tahaina                  RFP2: 2(ii)                      Spitzen Appendix 11, p.3


252. Nur Nihad Khalil al-Kayal                   RFP2: 20(4)                      Spitzen Appendix 15, p.1


253. Nureddin Adnan Sa’id Daoud                  RFP2: 9(g)                       PFLP operative.

254. Omar Ali Abd al-Al                          RFP1: 3(c)                       Recipient of funds tranfers from Hamas facilitator,
                                                                                  Yusuf el-Hayek (ABPLC211926).
255. Omar Mohhamed Awad Abu Al-Rob               RFP1: 10(6)                      Al Ansar Recipient, Arab Bank Jenin Account
                                                                                  Number: 583289/6
256. Osama Khaled al-Silawi                      RFP2: 16(e)                      Senior Fatah operative.

257. Othman Muhammad Ata Maragha                 RFP2: 9(s)                       Saudi Committee prisoner payment
                                                                                  (ABPLC006846) paid to PFLP operative.
258. Palestinian Authority Economic Affairs      RFP2: 17(o)                      The Economic Affairs Department is a financial
     Department                                                                   arm of the PLO (which includes both Fatah and the
                                                                                  PFLP).



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259. Palestinian Authority Ministry of Detainees and RFP2: 17(n)                      PA agency responsible for facilitating prisoner
     ex-Detainees                                                                     payments to Palestinian terrorists.

260. Palestinian Ministry of Social Welfare's Institute RFP2: 23                      See Plaintiffs' September 27, 2019 letter and
     for the Care of Martyrs' Families and the Injured                                attachment (describing this organization in detail).


261. Progressive Labor Front                          RFP2: 10(d)                     PFLP trade union association.


262. Ra’ed Musa Ibrahim Nazal                         RFP2: 9(q)                      Senior PFLP operative involved in the February
                                                                                      16, 2002 Karnei Shomron Pizzeria Attack.


263. Ra’fat Ali Muhammad al-Aruqi                     RFP2: 9(j)                      Saudi Committee prisoner payment
                                                                                      (ABPLC011332) for PFLP operative.
264. Rabah Hayel Takrouri                             RFP1: 2(cc)                     Recipient of funds tranfers from Hamas facilitator,
                                                                                      Yusuf el-Hayek (ABPLC211970).


265. Rabi’a Fayez Muhammad Sa’id                      RFP1: 8(57)                     Spitzen Appendix 7, p.21


266. Rabi’aa Fayiz Muhammad Sa’id                     RFP1: 8(59)                     Spitzen Appendix 7, p.22


267. Raed Jundiya                                     RFP2: 2(ww)                     PIJ commander in Gaza Strip.


268. Raeda Mustafa Hasan Mushtaha                     RFP1: 8(77)                     Spitzen Appendix 7, p.29


269. Randa Isma’il Ahmad Aqel                         RFP1: 8(47)                     Spitzen Appendix 7, p.18




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270. Rida Abdalla Isma’il al-Sanwar                RFP1: 8(17)                      Spitzen Appendix 7, p.5


271. Rida Abdalla Isma’il al-Sinwar                RFP1: 8(83)                      Spitzen Appendix 7, p.31


272. Rim Ibrahim Hamdan Abu al-Al                  RFP1: 8(11)                      Spitzen Appendix 7, p.3


273. Riyad Dakhlallah al-Amur                      RFP2: 16(kk)                     AAMB operative who planned the Efrat bombing
                                                                                    in March 2002.

274. Riyad Muhammad Ali Badir                      RFP2: 2(qq)                      Spitzen Appendix 1, p.375. Co-founder of PIJ in
                                                                                    Tulkarem and a cell commander of Al-Quds
                                                                                    Brigades.

275. Sabah al-Ja’bari                              RFP1: 9(2)                       Spitzen Report pp.257-58


276. Sabah Saeed Hasan Dar Khalil                  RFP1: 3(d)                       Spitzen Report pp.201-202


277. Sabiha Umar Yusuf al-Far                      RFP2: 13(13)                     Spitzen Appendix 19, p.4


278. Safiya Abd al-Qader Dudin                     RFP1: 8(79)                      Spitzen Appendix 7, p.30


279. Sahr Muhammad ‘Ashur                          RFP1: 8(21)                      Spitzen Appendix 7, p.7


280. Salah Abu Hasnin                              RFP2: 2(y)                       Member of the PIJ (Al-Quds Brigades).

281. Saleh Abdallah al-Barghuthi                   RFP1: 8(7)                       Spitzen Appendix 7, p.2




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282. Sami al-Arian                              RFP2: 2(e)                      Senior PIJ leader.

283. Samir Subhi Salah al-Shawa                 RFP1: 8(1)                      Spitzen Report pp.200-01


284. Samira Suliman al-Barghuthi                RFP2: 20(2)                     Spitzen Appendix 15, p.1


285. Samiya Jamal Musleh                        RFP1: 8(49)                     Spitzen Appendix 7, p.18


286. Samiya Kamal Nazmi Abd al-Ghani            RFP2: 5(32)                     Saudi Committee martyr payment
                                                                                (ABPLC030645) for Anwar Awni Abd al-Ghani, a
                                                                                PIJ (Al-Quds Brigades) operative.

287. Sayed Abu Msameh                           RFP1: 3(e)                      Spitzen Report pp.190-91


288. Shahdi Mhanna                              RFP2: 2(uu)                     PIJ (Al-Quds Brigades) commander in Northern
                                                                                Gaza Strip.

289. Shaher Ali Mahmoud al-Rai                  RFP2: 9(k)                      PFLP operative.


290. Shams Ahmad Mahmud al-Baluji               RFP1: 8(35)                     Spitzen Appendix 7, p.13


291. Sheikh Sharif Tahayna                      RFP2: 2(kk)                     Spitzen Appendix 1, p.347; a senior PIJ
                                                                                commander and an administrative manager of the
                                                                                Al-Ihsan Charitable Society - Jenin.
292. Sirhan Sirhan                              RFP2: 16(i)                     AAMB operative.


293. Suad Suliman Istiti                        RFP1: 8(6)                      Spitzen Appendix 7, p.2




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294. Subhi Abd al-Karim Abd al-Fatah Balbisi        RFP2: 5(30)                      ABPLC030735. Father of Maher Balbisi, a PIJ
                                                                                     operative who prepared explosives.
295. Subhiya Saber Hussein Hasan abu Khalifa        RFP1: 8(30)                      Spitzen Appendix 7, p.11


296. Suhair Ibrahim al-Barghuthi                    RFP1: 8(60)                      Spitzen Appendix 7, p.23


297. Tamer Khuweir                                  RFP2: 2(r)                       Recruited by PIJ to commit a suicide attack.

298. Tareq Qa’adan                                  RFP2: 2(tt)                      PIJ commander in the northern West Bank.


299. Taysir Shehada Rashid Jabali                   RFP2: 4(15)                      Spitzen Appendix 8, p.2


300. Umar Muhammad Nimer Abu Rashed                 RFP2: 13(11)                     PFLP-GC leader.


301. Union of Agricultural Work Committees          RFP2: 10(c)                      PFLP organization in the Palestinian Territories.


302. Union of Palestinian Women's Committees        RFP2: 10(e)                      PLO sub-organization.

303. Usri Fayad                                     RFP2: 2(ll)                      PIJ operative.

304. Vanguards of the Popular Army a/k/a Tala'I Aal- RFP2: 17(k)                     Fatah sub-organization affiliated with AAMB.
     Jaysh al-Sha'bi
305. Wa’el Mahmud ‘Muhammad Ali’ Qasem              RFP1: 3(k)                       Hamas operative involved in the Sheffield Club
                                                                                     Bombing.
306. Wafaa Fawzi al-Abd Dawidar                     RFP1: 8(71)                      Spitzen Appendix 7, p.27




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307. Watfa Abd al-Fatah Muhammad Hanani          RFP2: 13(2)                      Spitzen Appendix 19, p.1


308. Watfa Ata Jaradat                           RFP2: 13(3)                      Spitzen Appendix 19, p.2


309. Ya’qub Muhammad Abu Rumi                    RFP2: 6(15)                      Spitzen Appendix 11, p.5


310. Yaman Tayeb Ali Faraj                       RFP2: 9(p)                       PFLP commander in Nablus.

311. Yusra Farid Rashid Mahrum                   RFP2: 13(10)                     Spitzen Appendix 19, p.3

312. Yusuf Mohammed Rareb Hamdan Abu Al-Rob RFP1: 10(7)                           Al Ansar Recipient, Arab Bank Jenin Account
                                                                                  Number: 583289/6

313. Zaher Abu Harbid                            RFP2: 16(ee)                     AAMB operative.

314. Zakaria Zbeidi                              RFP2: 16(j)                      AAMB commander in Jenin.


315. Zakiya Abd al-Rahman Tarkhan                RFP2: 13(6)                      Spitzen Appendix 19, p.3


316. Zaynab Sha’ban Ahmad Taha                   RFP1: 8(23)                      Spitzen Appendix 7, p.8


317. Ziyad al-Nakhala                            RFP2: 2(a)                       PIJ leader and current Secretary General of the
                                                                                  organization.




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Aaron Schlanger

From:                    Ingerman, Brett <brett.ingerman@dlapiper.com>
Sent:                    Wednesday, January 8, 2020 6:00 PM
To:                      James P. Bonner; Gary Osen; Aaron Schlanger; Siegfried, Jonathan; Peck, Andrew; Ari Ungar; Patrick L.
                         Rocco; njnudelman@hnklaw.com; Susan M. Davies; trkalik@hnklaw.com; Kozlowski, Nicole; Earnest
                         Mckee, Lane; Masella, Jessica A.
Cc:                      Setrakian, Berge; Civetta, Margaret
Subject:                 AB/Miller - Meet & Confer
Attachments:             AB_Miller -- Information Needed for Individuals_Entities.pdf



Gary et al-

At our meet and confer on December10, 2019, we explained that there were still a significant number of names
in your document requests for which we still have little or no information to substantiate your allegation that
they are relevant to the allegations in this case. You offered to review that list and consider providing us
additional information (recognizing your statement that you did not believe you were obligated to do so). So in
furtherance of what I believe have been productive meet and confers, we are attaching a list of 108 names (out
of 677) from your document requests that: (1) were not identified in the Linde record at all; (2) were only
identified in Rule 26(a)(1) disclosures in Miller/Pam or Linde; (3) were only identified in the Plaintiffs’
11/7/2019 proffer; or (4) the information provided in Linde is insufficient to establish the identity or relevance
of the person/entity. We would very much appreciate any additional information you can provide as to these
108 names.

Happy to discuss at your convenience. Thanks.

Brett



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                                                                                   1/8/2020
                                                                    Miller/Pam v. Arab Bank
                       Individuals/Entities Requiring Information

    1. Abd al-Karim Rateb Yunes Aweis
    2. Abd al-Rahim Maluh
    3. Ahmad al-Mudalal
    4. Ahmad Sa’adat a/k/a Ahmad Sa’dat Abd al-Rasul
    5. Ahmad Taleb Mustafa Barghuthi al-Faransi
    6. Ahmad Yusuf Maghrabi
    7. Akef Fayez Nazal
    8. Alaa Tafesh
    9. Ali Suliman Said al-Sa’adi
    10. Ali Zafour
    11. Al-Karmel Cultural and Social Development Association
    12. Al-Qawasmeh Neighbourhood Charity a/k/a Charitable Al-Qawasmeh Neighborhood
        Society
    13. Amjad Mahmud Ibrahim Fakhuri
    14. Amnah Reehan
    15. Anwar Mahmud Ahmad Hamran
    16. Ataf Dawud Hasan Aliyan
    17. Ayman al-Hur
    18. Bahaa Abu Al Ata
    19. Banners of Charity a/k/a Bayareq al-Ataa Society
    20. Basel Asmar
    21. Bashir Musa Muhammad Nafi
    22. Bilal Abu Amsha
    23. Birzeit Univeristy Fatah Youth Movement
    24. Civil Society Organizations Commission
    25. Development Charitable Society
    26. Fadi Qafisha
    27. Faruq Qadumi
    28. Fatah Central Committee
    29. Fatah Hawks
    30. Fatah Mobilization and Organization Commission
    31. Fatah Revolutionary Council
    32. Fatah Youth Movement
    33. Fathi Shiqaqi
    34. General Union of Palestinian Students
    35. Ghasan al-Tirmasi
    36. Give Gaza Society
    37. Hanadi Taysir Abd al-Malek Jaradat
    38. Hassan ‘Atiya Hassan Madhoun
    39. Haytham Abu al-Naja
    40. Husam Jaradat
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    41. Iyad Ahmad Yusuf Sawalha
    42. Iyad Ahmad Yusuf Sawalha
    43. Jamal Hindi Zayed
    44. Jamil Mizher
    45. Kamil Sa’id Abu Hanish
    46. Khader Taleb Khader Dhiyab
    47. Khaled Abu Hilal
    48. Khaled al-Batsh
    49. Khaled Khalil Hamed
    50. Khaled Muhammad Amin al-Haj
    51. Luay Jihad Fathallah al-Sa’di
    52. Maher Ali Mahmoud al-Rai
    53. Mahmud Abu Hamam
    54. Mahmud Ahmad Muhammad Shawer
    55. Mahmud al-Hindi
    56. Mahmud al-Majzub
    57. Majed Qini
    58. Martyr Institiute
    59. Marwan Kaid Mutliq abd al-Karim Zalum
    60. Maryam Abu Diqa
    61. Maslama Thabet
    62. Mohammed Qasem Ahmed Aradah
    63. Muhammad Abd al-Aziz Ghanem
    64. Muhammad Dahduh
    65. Muhammad Dahlan
    66. Muhammad Hijazi
    67. Muhammad Saleh Muhammad Sayfi
    68. Muhammad Saqr Ragheb al-Zatme
    69. Muhammad Shauqi Sa’id Nazal
    70. Muqlid Hamid
    71. Murad Abd al-Fatah Abu al-Asal
    72. Mustafa al-Zibri AKA Abu Ali Mustafa
    73. Mustafa Tawfiq Muhammad Awd
    74. Mustafa Tawfiq Zaydan
    75. Na’el al-Sharif
    76. Nada Jamal al-Jayousi
    77. Naser Badawi
    78. Nasser Ahmad Yussuf Shawkah
    79. Nasser al-Din Abu Harbid
    80. Nihaya Khaled Mahmud al-Khatib
    81. Nureddin Adnan Sa’id Daoud
    82. Osama Khaled al-Silawi
    83. Othman Muhammad Ata Maragha
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    84. Palestinian Authority Economic Affairs Department
    85. Palestinian Authority Ministry of Detainees and ex-Detainees
    86. Progressive Labor Front
    87. Ra’ed Musa Ibrahim Nazal
    88. Ra’fat Ali Muhammad al-Aruqi
    89. Raed Jundiya
    90. Riyad Dakhlallah al-Amur
    91. Riyad Muhammad Ali Badir
    92. Sabah Saeed Hasan Dar Khalil
    93. Salah Abu Hasnin
    94. Sami al-Arian
    95. Shahdi Mhanna
    96. Shaher Ali Mahmoud al-Rai
    97. Sheikh Sharif Tahayna
    98. Sirhan Sirhan
    99. Tamer Khuweir
    100.Tareq Qa’adan
    101.Union of Agricultural Work Committees
    102.Union of Palestinian Women's Committees
    103.Usri Fayad
    104.Vanguards of the Popular Army a/k/a Tala'I Aal-Jaysh al-Sha'bi
    105.Yaman Tayeb Ali Faraj
    106.Zaher Abu Harbid
    107.Zakaria Zbeidi
    108.Ziyad al-Nakhala
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                                                  #: 2274

Aaron Schlanger

From:              Ari Ungar
Sent:              Wednesday, January 15, 2020 4:52 PM
To:                Ingerman, Brett; James P. Bonner; Gary Osen; Aaron Schlanger; Siegfried, Jonathan; Peck, Andrew;
                   Patrick L. Rocco; njnudelman@hnklaw.com; Susan M. Davies; trkalik@hnklaw.com; Kozlowski, Nicole;
                   Earnest Mckee, Lane; Masella, Jessica A.
Cc:                Setrakian, Berge; Civetta, Margaret
Subject:           RE: AB/Miller - Meet & Confer
Attachments:       AB_Miller -- Information Needed for Individuals_Entities.pdf; Plaintiffs mark-up of Exhibit A to Letter
                   10-30-2019.pdf



Brett,

On November 7, 2019, Jim forwarded you the attached mark-up providing you with additional
information and Spitzen Expert Report references for most of the names listed on Exhibit A to your
October 30, 2019 letter. While we were not required to provide you with this additional information,
we did so in order to make things as easy and efficient as possible for Arab Bank to comply with its
discovery obligations – particularly because you have repeatedly asserted that Defendant is eager to
move this case along, a sentiment that Plaintiffs certainly share.

As we indicated during our December 10, 2019 meet and confer, we will be providing you with
additional documentation (where available) on the names you recently provided on January 8, 2020
(“the list”), but we have serious concerns about the necessity of this exercise because many of the names
on the list (1) are self-evidently relevant; (2) are easily ascertainable; and/or (3) were previously
detailed to you on November 7. By way of illustration – considering only a few persons and entities on
the list – the information we previously supplied and simple Google searches reveal the following:

Individuals/Entities Identified by AB on 1/8/2020 as “Requiring Information”

1. Abd al-Karim Rateb Yunes Aweis (previously identified by Plaintiffs as “AAMB operative who
dispatched the suicide bomber of the King George Street Bombing.”). The first search result on Google
for     Aweis        links    to      the     Israeli     Ministry      of       Foreign       Affairs
(http://www.israel.org/MFA/PressRoom/2002/Pages/IDF%20Activity%20in%20Ramallah%20-
%20Summary%20of%20Inventory%20-.aspx), which states, in part:




                                                           1
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Most wanted terrorist list members detained during IDF action in Ramallah:

1. Abd al Karim Aweis, born 1970, known Tanzim terrorist, company commander in Jenin, directly
   involved in terror attacks and a dispatcher of suicide bombers to Israel. In December 2001 Abd
   al Karim Aweis was arrested by Palestinian security services in Samaria and was transferred to
   Ramallah for incarceration in a high security facility. In actuality the Palestinian security services
   granted him full freedom to continue carrying out murderous terror attacks. During his sojourn
   in Ramallah he worked in concert with other Tanzim terrorists from Ramallah headed
   by Marwan Barghouti to carry out additional terror attacks.

   During questioning by the ISA, Abd al Karim Aweis confessed to his activity during the recent
   violent conflict:

   -   Planting a land mine on the Jenin bypass road;
   -   Participating in three shooting attacks on the Jenin bypass road;
   -   Manufacturing mortars and mortar shells in conjunction with terrorists from the Jenin area;
   -   Firing mortars on the town of Kadim;
   -   Manufacturing an explosive device for a terror cell of Dir Hana
       (Israel) residents. The device was planted at the Golani Junction;
   -   Manufacturing explosive devices for Tanzim terrorists in Ramallah;
   -   Dispatched two suicide bombers to Afula in concert with Ali Tzipori, an Islamic Jihad
       terrorist from Jenin;
   -   Dispatched the suicide bomber who killed 3 Israelis and wounded 35 more on King George
       Street in Jerusalem on 21 March 2001 in concert with Samaria Tanzim terrorist Nasser
       Shuyash.

   In addition, Aweis, together with Jenin Islamic Jihad terrorist Mahmoud Gorssi, was behind the
   suicide terror attack of 12 August 2001 in Kiryat Motzkin that injured 14 Israelis. The pair was
   also responsible for the failed suicide attack of 16 August 2001 in Haifa.



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4. Ahmad Sa’adat a/k/a Ahmad Sa’dat Abd al-Rasul (previously identified by Plaintiffs as “PFLP’s
Secretary General. He dispatched the terrorist cell that assassinated Israeli Tourism Minister Rehavam
Ze’evi on October 17, 2001. The IDF military court sentenced Sa’adat to 30 years in prison.”). The first
search result on Google for Ahmad Sa’adat is to his Wikipedia page:




5. Ahmad Taleb Mustafa Barghuthi al-Faransi (previously identified by Plaintiffs as “AAMB
operative who took part in planning and executing several terrorist attacks including the January 22,
2002 Bus Stop Shooting Rampage in Jerusalem.”). The first search result on Google for Barghuthi links
to    the     Israeli   Ministry     of    Foreign      Affairs     (https://mfa.gov.il/MFA/MFA-
Archive/2002/Pages/Information%20on%20Marwan%20and%20Ahmed%20Barghouti%20-%2015-
Apr.aspx):




The Ministry of Foreign Affairs website identifies Barghuthi as follows:

      Ahmed Taleb Mustafa Barghouti



                                                   3
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                                         #: 2277
 1. Ahmed Taleb Mustafa Barghouti was arrested on April 15, 2002 in a joint
 operation between the IDF and the Israel Security Agency. Ahmed is a relative
 of Marwan Barghouti, the head of the Al-Aqsa Brigades, the military branch of
 Fatah's Tanzim.
 2. Ahmed Taleb Mustafa Barghouti was born in 1976 and originally resided in
 the government projects in El Bireh. Since 1997 he has been known as Marwan
 Barghouti's driver, although in actuality he has served as Marwan Barghouti's
 senior aide. In 1999 he joined the Palestinian police. He was a member of the
 terror cell which carried out many shooting attacks against IDF soldiers in the area
 around Ramallah. Since the year 2001, he has served as Marwan Barghouti's bureau chief
 and as the director and coordinator of terrorist attacks against Israel, under the direction
 of Marwan Barghouti.
 3. Since the beginning of 2002 he has stood at the head of the Ramallah Al-Aqsa Brigades
 and has acted under the direction of Marwan Barghouti, with the knowledge of Yasser
 Arafat and in coodination [sic] with Nasser Avis from Nablus in carrying out suicide
 terror attacks within Israel.
 4. Ahmed Taleb Mustafa Barghouti has directed and carried out the following terror
 attacks in 2002:
       Jan 22, 2002 - The shooting spree on Jaffa Street in Jerusalem. Two Israelis were
        killed, 37 wounded.
       Jan 17, 2002 - Three terrorists were arrested on their way from Nablus to Ramallah
        where they were to meet Ahmed Taleb Mustafa Barghouti. From their meeting,
        the terrorists were to go on their way to Jerusalem where they were to carry out a
        suicide terrorist attack.
       Feb 25, 2002 - The shooting attack in the Jerusalem residential neighborhood of
        Neve Yaacov. One Israeli policewoman was killed, 9 Israelis were wounded.
       Feb 27, 2002 - The murder of an Israeli at a coffee factory in the Atarot industrial
        zone of Jerusalem.
       Feb 27, 2002 - The suicide attack perpetrated by Daryan Abu Aysha and [sic] the
        Maccabim checkpoint in which two policeman were injured.
       Mar 5, 2002 - The shooting spree at the Tel Aviv Seafood restaurant[.] Three Israelis
        were killed, 31 wounded.
       Mar 8, 2002 - The interception of a suicide terrorist with an explosive belt along
        with his handler in Daheat el Barid. The attack was thwarted.
       Mar 27, 2002 - The interception of an ambulance and the confiscation of an
        explosive belt which was being smuggled from Samaria into in [sic] Ramallah,
        under the coordination of Ahmed Taleb Mustafa Barghouti.

    Additionally, Ahmed Taleb Mustafa Barghouti planned to send an additional suicide
    terrorist who was arrested once the IDF entered Ramallah.
    Over the course of the year 2002 the name of Ahmed Taleb Mustafa Barghouti was
    submitted to the Palestinian Security Forces a number of times. The Palestinian
    Security Forces refused to arrest him and even warned him about Israel's knowledge
    of his hostile terrorist activities.
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                                           #: 2278
Again, as we indicated during our December 10, 2019 meet and confer, we will nonetheless provide
you with additional documentation (where available) on the individuals requested on your attached
list.

On our call, you also indicated that you would advise us by the end of the year whether Arab Bank
will produce responsive records in the Bank’s possession, custody or control that are or were located
in the United States for all persons and entities listed in Plaintiffs’ two pending document requests, and
if not, which persons and/or entities you object to producing responsive records for. As we stated on
the call, the requests have been pending since July 2019, so if there is a need for judicial intervention to
determine the scope of production, the time has (more than) come to identify the contours of the
dispute, if any.

If, on the other hand, your client intends to produce all records in the Bank’s possession, custody or
control that are or were located in the United States that are responsive to Plaintiffs’ two pending
document requests, please advise us when you anticipate your first production of records not
previously produced in the Linde litigation.

Regards,

Ari




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